While I agree with Mr. Justice Pope in the conclusions which he has reached on all the questions except the last, which are presented by this appeal and considered in the leading opinion, I am unable to agree with him in the view which he takes of this last question, and, therefore, will proceed to state briefly the grounds of my dissent.
That question, practically, is this: whether the attachments obtained by the appellants and levied upon the property of Thos. D. Rhodes, the bankrupt, prior to the institution of the proceedings in bankruptcy, are rendered void by subdiv. f, of sec. 67, of the bankrupt act passed by the Congress of the United States in July, 1898. It seems to me that the view which has been taken of subdiv. f, of sec. 67, of the bankrupt act, not only ignores, but completely eradicates from the statute subdivision c of the same section of the same act. While this may be possible in some cases, yet I know of no rule of construction by which it is permissible except where such a result is absolutely unavoidable. On the contrary, the well settled rule is that where two portions of a statute appear on their face to be conflicting, every effort should be made to reconcile these apparently conflicting provisions, and bring them into harmony if possible. This rule is, if anything, the more imperative where, as in this case, the apparent conflict is between two clauses of the same section of the same act. That there is an apparent conflict between the provisions of subdivision c and subdivision f, is evident from a bare reading of the two subdivisions, both relating to the same general subject matter, viz: as to what liens on the estate of the bankrupt are rendered void by an adjudication of bankruptcy. It *Page 372 
is not necessary to set out here the provisions of these two subdivision in haec verba, as they are set out fully in the leading opinion. It is enough to say that by the provisions of subdivision f, the lien of every attachment, "obtained, through legal proceedings, against a person who is insolvent, at any time within four months prior to the filing of a petition in bankruptcy against him, shall be deemed null and void in case he is adjudged a bankrupt * * * unless the Court shall, on due notice, order that the rights under such * * * attachment * * * shall be preserved for the benefit of the estate;" while under subdivision c, the provisions are that the lien of an attachment obtained in any proceeding at law or in equity, "which was begun against a person within four months before the filing of a petition in bankruptcy by or against such person, shall be dissolved by the adjudication of such person to be a bankrupt:" Provided, Any one of three things shall be made to appear: (1) "That said lien was obtained and permitted while the defendant was insolvent, and that its existence will work a preference;" (2) "the party or parties to be benefited thereby had reasonable cause to believe the defendant was insolvent and in contemplation of bankruptcy;" or (3) "that said lien was sought and permitted in fraud of the provisions of this act." In other words, under the one provision — subdivision f — any attachment obtained in a legal proceeding, within four months before the filing of a petition in bankruptcy, against a person who is insolvent (without regard to the fact as to whether the holder of the lien either knew or had cause to believe such person was insolvent), shall be dissolved in case the defendant is adjudged a bankrupt; while under the other provisions — subdivision c — the adjudication of bankruptcy will not work a dissolution of the attachments, unless (1) the lien of such attachment "was obtained and permitted while the defendant was insolvent, and that its existence and enforcement will work a preference;" or (2) "the party or parties to be benefited thereby had reasonable cause to believe the defendant was insolvent and in contemplation of bankruptcy;" *Page 373 
or (3) "that said lien was sought and permitted in fraud of the provisions of this act."
The next inquiry is whether this apparent conflict between these two provisions can be reconciled; for if so, the well settled rule is that it must be done, before resort can be had to the extreme rule whereby the last provision shall be regarded as the latest declaration of the legislative will, and practically operating as a repeal or abrogation of the preceding provision. It seems to me that this apparent conflict between these two provisions of the bankrupt act — subdivision c and subdivision f — can and should be reconciled by reading the particular or special provision contained in subdivision c, as an exception to the general provisions in subdivision f, under the well settled rule which is thus stated in Endlick on Stat., sec. 216: "Where a general intention is expressed, and also a particular intention which is incompatible with the general one, the particular intention shall be considered an exception to the general one" (citing several cases, amongst which is Churchill v. Crease, 5 Bing., 180, which seems to be a leading case on the subject), and the author proceeds, in the same section, to illustrate the rule as follows: "Hence, if there are two acts, or two provisions in the same act, of which one is special and particular, and clearly includes the matter in controversy, whilst the other is general, and would, if standing alone, include it also; and if, reading the general provisions side by side with the particular one, the inclusion of that matter in the former would produce a conflict between it and the special provision, it must be taken that the latter was designed as an exception to the general provision." To the same effect, see Potter's Dwarris on Stat., at pp. 272-3, and 23 Ency. of Law, 428, where it is said that the rule applies without regard to priority of enactment of the two provisions. See, also, Townsend v. Little,109 U.S. Rep., 504, where the rule is said to be well settled and is thus stated: "That general and specific provisions in apparent contradiction, whether in the same or different statutes, and without regard to priority of enactment, may subsist together, *Page 374 
the specific qualifying and supplying exceptions to the general." This rule has also been expressly recognized by this Court in the case of the State v. Shaw, 9 S.C. 94. It seems to me, therefore, that the Circuit Judge was in error in basing his conclusion that the attachments should be set aside solely on the provisions of subdivision f of sec. 67, of the bankrupt act, without regard to the qualifying effect of the provisions of subdivision c, of the same section.
I think that the judgment of the Circuit Court should be reversed.